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     Attorneys for Defendant-Intervenor
 7   Resolution Copper Mining, LLC
 8                             UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF ARIZONA
10
11   San Carlos Apache Tribe, a federally                    No. CV-21-0068-PHX-JZB
     recognized Tribe,
12
                          Plaintiff,                         NOTICE OF WITHDRAWAL OF
13                                                           COUNSEL MATTHEW ROJAS
            v.                                               ONLY
14
     United States Forest Service, an agency in the
15   U.S. Department of Agriculture; Neil
     Bosworth, Supervisor of the Tonto National
16   Forest; Tom Torres, Acting Forest Supervisor
     of the Tonto National Forest,
17
                          Defendants.
18
     Resolution Copper Mining, LLC,
19
                          Defendant-Intervenor.
20
21
22          PLEASE TAKE NOTICE that Matthew L. Rojas hereby withdraws as counsel of
23   record for Defendant-Intervenor Resolution Copper Mining, LLC in the above-captioned
24   case and respectfully requests that service and all electronic filing notices be terminated as
25   to him.     Defendant Intervenor Resolution Copper Mining, LLC will continue to be
26   represented by Christopher D. Thomas and Andrea J. Driggs of Perkins Coie LLP, who
27   already appear as attorneys of record in this matter.
28
       Case 2:21-cv-00068-DWL Document 59 Filed 05/04/23 Page 2 of 3



 1                                       PERKINS COIE LLP
     Dated: May 4, 2023
 2
 3                                       By:/s/ Christopher D. Thomas
                                             Christopher D. Thomas
 4                                           Andrea J. Driggs
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 5                                           Phoenix, Arizona 85012-2788

 6                                       Attorneys for Defendant-Intervenor
                                         Resolution Copper Mining, LLC
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 1                                  CERTIFICATE OF SERVICE
 2                   I hereby certify that on May 4, 2023, I electronically transmitted the
 3   attached documents to the Clerk’s Office using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 5
 6
              Alexander B. Ritchie, Attorney General
 7            Justine R. Jimmie
              Chase A. Velasquez
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              Environment & Natural Resources Division
15            150 M St. NE, Third Floor
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17            Attorneys for Federal Defendants

18
                                                 /s/ Shawne Murphy
19   161637844.1

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